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   May 7, 2018

   Hon. Cecelia G. Morris
   Chief U.S. Bankruptcy Judge
   U.S. Bankruptcy Court
   355 Main Street
   Poughkeepsie, NY 12601

   RE:    Richard B. Colletti
          Chapter 13
          Case No: 16-35143(cgm)

   Your Honor:

   I am writing this letter as a “Status Update” with respect to the pending Loss Mitigation
   between the Debtor and his mortgage holder. The next date for Loss Mitigation has now
   been adjourned from May 8, 2018 to June 19, 2018 at 9:30am.

   On May 2, 2018 we received an email directly from SN Servicing Corp advising that
   they were now servicing the Debtor’s mortgage. We thereafter received notice from
   DavidsonFink that the mortgage company had recently switched mortgage servicers from
   Shellpoint Mortgage to SN Servicing Corp. As a result, SN Servicing Corporation is
   requesting an entirely newly completed package to be submitted by the Debtor. All
   documentation that had previously been submitted to the bank’s prior loss mitigation
   representatives has now been rendered stale.

   The Debtor is in the process of completing a new package and obtaining all newly
   updated financials and quarterly profit and loss reports for his business.


   Respectfully,

   /S/ Richard Scott Zirt
   RICHARD SCOTT ZIRT, ESQ.
   Attorney for the Debtor
   RSZ/plv

   CC:    Davidson Fink (via ECF)
